
PER CURIAM.
This cause is here on petition for writ of certiorari supported by certificate of the District Court of Appeal, Third District, that its decision is one which involves a question of great public interest. See Section 4(2), Article V, Constitution of Florida, F.S.A.
The factual circumstances, background and questions involved are set forth in the decision of the District Court reported at 177 So.2d 250.
The writ issued and oral argument by the parties has been heard. We hold that the District Court of Appeal correctly decided the issue before it, and we adopt such as the ruling of this court.
The writ of certiorari is accordingly
Discharged.
THORNAL, C. J., and DREW, O’CON-NELL, CALDWELL and ERVIN, JJ., concur.
